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 4                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 5

 6   UNITED STATES OF AMERICA,
                                                   NO: 2:13-CR-12-RMP-3
 7                              Plaintiff,
                                                   ORDER GRANTNG DEFENDANT’S
 8         v.                                      JOINT MOTION TO MODIFY
                                                   CONDITIONS OF RELEASE
 9   SHANNON STILTNER,

10                              Defendant.

11

12         BEFORE the Court is Shannon Stiltner’s Unopposed Motion to Modify

13   Release Conditions, ECF No. 415. After reviewing the submitted material and

14   relevant authority, the Court is fully informed and finds good cause to grant the

15   motion.

16         IT IS SO ORDERED: Ms. Stiltner’s release conditions are modified as

17   follows:

18         1. Ms. Stiltner will be allowed to contact Ms. Sue Spinazza;

19         2. Ms. Stiltner no longer must forward all of her mail to the Federal

20              Defenders for screening; provide her phone bills to the U.S. Probation



     ORDER GRANTNG DEFENDANT’S JOINT MOTION TO MODIFY
     CONDITIONS OF RELEASE ~ 1
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 1            Office for review; or block all telephone calls from incarceration

 2            institutions.

 3         The District Court Clerk is directed to enter this Order and provide copies to

 4   counsel and the U.S. Probation Office.

 5         DATED this 8th day of January 2014.

 6
                                                    s/ Rosanna Malouf Peterson
 7                                              ROSANNA MALOUF PETERSON
                                              Chief United States District Court Judge
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     ORDER GRANTNG DEFENDANT’S JOINT MOTION TO MODIFY
     CONDITIONS OF RELEASE ~ 2
